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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Uniformed Fire Officers Association; Uniformed
Firefighters Association of Greater New York; Correction
Officers’ Benevolent Association of the City of New             NOTICE OF REMOVAL
York, Inc.; Police Benevolent Association of the City of
New York, Inc.; Sergeants Benevolent Association;               Case No. 20 CV 05441
Lieutenants Benevolent Association; Captains Endowment
Association; and Detectives’ Endowment Association,

                                                 Petitioners,

                         -against-

Bill de Blasio, in his official capacity as Mayor of the City
of New York; the City of New York; Fire Department of
the City of New York; Daniel A. Nigro, in his official
capacity as the Commissioner of the Fire Department of
the City of New York; New York City Department of
Correction; Cynthia Brann, in her official capacity as the
Commissioner of the New York City Department of
Correction; Dermot F. Shea, in his official capacity as the
Commissioner of the New York City Police Department;
the New York City Police Department; Frederick Davie,
in his official capacity as the Chair of the Civilian
Complaint Review Board; and the Civilian Complaint
Review Board,

                         Defendants.
––––––––––––––––––––––––––––––––X
TO:    THE UNITED STATES DISTRICT COURT,
       SOUTHERN DISTRICT OF NEW YORK

               Defendants Bill de Blasio, in his official capacity as Mayor of the City of New

York; the City of New York; Fire Department of the City of New York; Daniel A. Nigro, in his

official capacity as the Commissioner of the Fire Department of the City of New York; New

York City Department of Correction; Cynthia Brann, in her official capacity as the

Commissioner of the New York City Department of Correction; Dermot F. Shea, in his official

capacity as the Commissioner of the New York City Police Department; the New York City

Police Department; Frederick Davie, in his official capacity as the Chair of the Civilian
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Complaint Review Board; and the Civilian Complaint Review Board, (collectively

“Defendants”), by and through their attorney, James E. Johnson, Corporation Counsel of the City

of New York, respectfully moves this Court as follows:

               1.      On July 14, 2020, Defendant City of New York received a Summons and

Petition by e-mailed service on the Office of the Corporation Counsel, filed in the Supreme

Court of the State of New York, County of New York, under Index No. 154982/2020E, naming

the Defendants therein, and setting forth the claims for relief upon which the action is based.

               2.      A copy of Plaintiff’s Summons and Complaint is annexed hereto as

Exhibit “A.”

               3.      Petitioners bring this action seeking to temporarily and permanently enjoin

Defendants from releasing unsubstantiated and non-final disciplinary records of firefighters,

police and correction officers and alleging, among other things, potential violations under 42

U.S.C. §1983 of both the Due Process Clause and the Equal Protection Clause of Fourteenth

Amendment.      Petitioners also allege a breach of their respective collective bargaining

agreements, a breach of contract claim and allege that Defendants’ acts were affected by an error

of law or are arbitrary and capricious in violation of New York Civil Practice Law and Rules §

7803. Finally, Petitioners request declaratory relief. See Exhibit “A.”

               4.      The above-captioned action is a civil action of which the District Court

has original jurisdiction pursuant to 28 U.S.C. § 1331, in that it alleges claims which arise under

the laws of the United States. This action is therefore removable to the District Court without

regard to the citizenship or residence of the parties, pursuant to 28 U.S.C. §§ 1441 and 1443.

               5.      This Notice of Removal is timely because it is being filed within thirty

(30) days of Defendant’s receipt of the Summons and Complaint. See 28 U.S.C. § 1446 (b).



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                6.      Defendant will promptly file a copy of this Notice of Removal with the

Clerk of the State Court in which the action is pending.

                WHEREFORE, Defendants respectfully request that the above-captioned action

be removed from the Supreme Court of the State of New York, County of New York, to the

United States District Court for the Southern District of New York.

Dated:          New York, New York
                July 15, 2020

                                              JAMES E. JOHNSON
                                              Corporation Counsel
                                                of the City of New York
                                              Attorney for Defendant City of New York
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                                              By:     /s/ Dominique F. Saint-Fort
                                                      Dominique F. Saint-Fort
                                                      Assistant Corporation Counsel

                                              By:     /s/ Rebecca Jo Quinn
                                                      Rebecca Jo Quinn
                                                      Assistant Corporation Counsel



TO:      DLA PIPER LLP (US) New York, New York
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          Docket No. 20 CV 05441
         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK


         Uniformed Fire Officers Association; Uniformed
         Firefighters Association of Greater New York;
         Correction Officers’ Benevolent Association of
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         Benevolent Association; Captains Endowment
         Association; and Detectives’ Endowment
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                                                 Petitioners,

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                                                Defendants.

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Case 1:20-cv-05441-KPF Document 1 Filed 07/15/20 Page 6 of 6
                       JAMES E. JOHNSON
             Corporation Counsel of the City of New York
                   Attorney for Defendant City of New York
                   100 Church Street, Rm. 2-186/2-317
                   New York, N.Y. 10007

                        Of Counsel: Dominique F. Saint-Fort
                        Rebecca Jo Quinn
                        Tel: (212) 356-2444/4382

         Due and timely service is hereby admitted.

         New York, N.Y.................................................. , 2020

         ........................................................................... Esq.

         Attorney for ................................................................




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